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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
CASE NO:
. - - L/. AS
SAMANTHA L. GARRETT, €1T-tv -2974/- F 33 Ah
Plaintiff,
Vv. ~
UNIVERSITY OF SOUTH FLORIDA 5
BOARD OF TRUSTEES, 2
Defendant. =
/ Nm
2
COMPLAINT

Plaintiff, Samantha L. Garrett, by and through her undersigned counsel,
hereby sues University of South Florida Board of Trustees, and states:
A. JURISDICTION

l. This is an action for relief pursuant to 20 U.S.C. § 1681, et seq., the
Education Amendments of 1972, commonly known and referred to hereafter as
“Title IX,” thus this Court has jurisdiction pursuant to 28 U.S.C § 1331.
B. VENUE

2. Venue is proper in this Court pursuant to 28 U.S.C. section 1391, in
that the causes of action asserted herein arose and accrued in Hillsborough County,

Florida, located within the Middle District of Florida.

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C. PARTIES

3. Plaintiff is now, and at all material times has been, a resident of the
State of Florida. Plaintiff was at all material times a female graduate student who
applied to, was accepted for admission to and duly enrolled in University of South
Florida in the fall semester of 2015 through the present, to pursue a doctoral
degree.

4. a. University of South Florida is a public university of the State of
Florida, maintaining its principle place of business in Hillsborough County,
Florida; Defendant University of South Florida Board of Trustees is a
constitutionally-created public body corporate that administers the university
(hereafter "USF" or “the University”) and is responsible for ensuring that the
University’s policies and programs are administered in compliance with the law
and educational standards, including those established by Title IX.

b. | USF was at all material times an educational institution
receiving federal funds, conducting an “education program or activity” within the
meaning of Title IX, and is therefore subject to its terms, including prohibition
against discrimination on the basis of sex in the provision of educational
opportunities and administration of student discipline.

5. USF is responsible for the actions and inactions of its employees and

agents more fully described herein.
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D. FACTS PERTINENT TO ALL COUNTS

6. Plaintiff is a current USF student who is enrolled as a full-time,
doctoral degree-seeking student, and who attends classes and related academic
activities at USF’s Tampa campus in Hillsborough County, Florida.

7. Plaintiff commenced her doctoral studies at USF in August 2015; the
doctoral program was then and remains small, enrolling only approximately two
dozen students at any given time.

8. Among her fellow students in the program was Andrew Thurston,
who Plaintiff met and became friends with after arriving at USF.

9. On the evening of November 12, 2016, and into the early morning
hours of November 13, 2016, while Plaintiff was visiting with Andrew Thurston at
his apartment near the USF campus, he committed sexual battery on her, as defined
by Florida Statutes section 794.011, with use of physical force and violence; at a
minimum, the offense committed by Andrew Thurston constituted a second degree
felony under Florida law.

10. Andrew Thurston committed his crimes against Plaintiff specifically
in disregard of her physical resistance and repeated demands that he “stop”

forcibly removing her clothes and the forcing sexual acts on her.
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11. Plaintiff was unable to succeed in her efforts to escape Mr. Thurston’s
criminal acts due to his substantially larger size and physical prowess as a former
U.S. Marine and current “CrossFit” athlete.

12. Plaintiff was left bruised and bleeding as a result of the attack.

13. After he was finished raping her, Andrew Thurston refused to allow
Plaintiff to leave his apartment until the morning of November 13, 2016, and
otherwise intimidated her into staying and not fleeing.

14. Subsequent to the attack, Andrew Thurston admitted to the attacks
and admitted to breaching Plaintiff's trust; he claimed, in writing, to be remorseful
and “sorry,” referred to himself as a “monster” and “bad person” for what he did,
claimed to be refraining from alcohol, and claimed to be going to therapy;
moreover, Mr. Thurston offered to leave USF so as to not interfere with Plaintiff's
progress. At all pertinent times, USF had access to these admissions by Mr.
Thurston.

15. On December 5, 2016, Plaintiff confided in USF Psychology
Professor Tammy Allen, about Mr. Thurston’s crimes against her; in turn,
Professor Allen reported the same to USF Title IX officials, including:

a. Plaintiff's complaint to her that she has been sexually assaulted

by Andrew Thurston on November 12, 2016.
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b. The fact that Plaintiff wanted Andrew Thurston removed from
the academic program they were both enrolled in.

c. The fact that Plaintiff was suffering from a “high degree of
stress” relative to the events.

16. On December 6, 2016, USF Title IX officials acknowledged
Plaintiff's complaint of Andrew Thurston’s sexual attack on her by issuing a “Title
IX initial contact letter.” In that letter, USF assured Plaintiff of the following,
acknowledging her Title IX rights and pledging to uphold them:

a. “USF is committed to supporting your well-being, as well as
acting to ensure the safety of the campus community.”

b. “The University is committed to stopping harassment,
preventing its recurrence, and working to remedy its effects.”

Cc. “Students have the nght to be free from retaliation from any
person within the University community.”

d. “The University has a zero tolerance policy regarding
retaliatory harassment.”

17. As more fully set forth herein, despite its assurances, the University
materially and substantially breached each of these duties in the months that

followed.
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18. No later than December 9, 2016, Plaintiff confirmed to USF Title [X
officials that she wanted to assert a formal complaint against Andrew Thurston for
having sexually assaulted her, and she did, in fact, file a formal complaint as of
that date.

19. No later than December 9, 2016, USF Title IX officials assigned
Investigator Joanna Ellwood to investigate the case.

20. During the course of Investigator Ellwood’s investigation, USF
learned, inter alia, that:

a. In the days following his attack, Andrew Thurston
disingenuously attempted to manipulate Plaintiff into feeling sorry for him and
believing that he was remorseful.

b. In the days following his attack, Andrew Thurston had offered
to drop out of USF so as to not interfere with Plaintiff's progress, though he failed
to do so.

Cc. On or about November 24, 2016, when Andrew Thurston
learned that Plaintiff intended to report his crimes to University officials, in an
effort to retaliate against and discredit Plaintiff, Mr. Thurston filed a false report
with police that Plaintiff was threatening suicide in order to force a Baker Act

proceeding against her and have her involuntarily committed to a locked
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psychiatric facility. Plaintiff was detained by authorities as a result, but later
released as not being a threat to herself.

d. In the weeks following the attack, Plaintiff failed in her
attempts to achieve a sense of safety while being around Andrew Thurston at
events connected with their doctoral program and became socially isolated from
her peers based on fear of encountering him at social and academic events.

e. In the weeks following the attack, Plaintiff began to struggle
and fail in her academic studies.

f. In the weeks following the attack, Plaintiff requested that
Andrew Thurston not attend academic and social events related to their doctoral
program, though he refused.

g. In the weeks following the attack, Plaintiff was persistently
tearful and grief-stricken, to the point that she was unable to complete academic
assignments.

h. That the doctoral program Plaintiff and Andrew Thurston are
part of, is a “close knit” group in which it would be impossible for Plaintiff to
achieve a sense of safety and comfort with Thurston continuing to be present.

1. That Andrew Thurston materially lied to Investigator Ellwood

about his actions against Plaintiff.
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21. Atthe conclusion of her investigation, Joanna Ellwood concluded that
there was “sufficient evidence to substantiate” that Andrew Thurston was
“responsible” for violating the USF Student Code of Conduct, sections 4.14(b) and
4.14(c), by have committed “non-consensual intercourse and non-consensual
sexual contact” against Plaintiff.

22. On March 9, 2017, USF’s Title IX officials issued a so-called “no
contact” letter to Andrew Thurston as an “interim measure” for the duration of its
investigation into Plaintiff's complaint, purporting to prohibit Mr. Thurston from
contacting her “in person, by telephone, email text message or other electronic
means of communication, social media or through a third party.” In practice, USF
failed and refused to enforce it as such.

23. On March 9, 2017, the USF Office of Student Rights and
Responsibilities issued notice to Plaintiff that, as a result of the investigation into
her complaint, Andrew Thurston was formally charged with violating USF’s
Student Code of Conduct, sections 4.14(b) and 4.14(c), relative to, respectively,
non-consensual sexual intercourse and non-consensual sexual contact.

24. On March 9, 2017, the USF Office of Student Rights and
Responsibilities issued a written notice that the recommended sanctions for Mr.
Thurston’s offense, in the event he was found responsible or accepted

responsibility, would be:
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a. That he would have a deferred suspension through May 4,
2018, under which, he would actually suffer no period of time at all being barred
from any or all portions of campus, and would expressly be allowed to continue
being on campus at his will and whim.

b. | That he would have to attend two meetings with the Interim
Director of the Office of Student Rights and Responsibilities, Maria Zale,
specifically: (i) a meeting no later than October 13, 2017, “to discuss [his]
academic and personal achievements during summer and Fall [sic] semester”; and
(ii) a meeting no later than April 6, 2018, “to discuss the deferred suspension.”

c. That he would be “ask[ed]” to “refrain from making contact
with Plaintiff by telephone, in writing, electronically, by third party, or in person
both on and off campus.”

d. USF gave Mr. Thurston five business days from March 9, 2017,
to accept responsibility for the charges or request a formal hearing on the chargers;
he opted for the former. As such, the above-described “sanctions” were the only
consequence and restrictions imposed on Mr. Thurston for having forcibly raped
Plaintiff and having falsely imprisoned her after doing so.

25. Plaintiff was informed in writing of the foregoing by letter dated

March 20, 2017.
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26. Notwithstanding the aforesaid “no contact” request, USF permitted
Mr. Thurston to continue to have regular direct contact with Plaintiff, over her
strenuous and repeated objections to University Title IX officials, and for the threat
of such contact to be ever present, including permitting him to:

a. Park in the same parking lot that Plaintiff was assigned to park
in.

b. Maintain an office as a teaching assistant in the same building
that Plaintiffs assigned office was in.

c. Be on campus at the same time Plaintiff was for academic
purposes, including attending classes.

d. Attend classes that Plaintiff was enrolled in.

e. Enter classrooms where Plaintiff was performing her duties as a
teaching assistant.

f. Attend weekly guest speaker sessions that were an academic
requirement for Plaintiff's studies.

g. Be in the same room as Plaintiff, no matter how small, at
educational meetings, educational and professional conferences, and departmental
social events; in fact, USF’s Senior Deputy Title IX Coordinator, Crystal
Coombes, described such contact between Plaintiff and her rapist as

“inconsequential.”

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27. Plaintiff repeatedly and specifically complained to USF Title IX and
administration officials that the sanctions and restrictions imposed on Mr. Thurston
were insufficient to provide her with necessary mental health comfort and safety
such that she could achieve peace of mind to participate in educational
opportunities and meet the requirements of her degree program. Among her
specific complaints:

a. Despite the larger size of the overall campus, she was, and
remains, regularly exposed to her rapist because they are enrolled in the same,
small doctoral program, work in the same building on campus, and have to go to
the same events for that program;

b. | That she has ongoing safety concerns and has had to avoid
campus because of Mr. Thurston’s unrestricted access to campus;

C. That avoiding campus has deprived Plaintiff of access to
educational opportunities and benefits, and has impeded her ability to meet the
requirements of her teaching assistantship and otherwise made performing her
duties very difficult due to experiencing overwhelming distress from his presence.

28. Plaintiff complained in writing of deliberate, orchestrated actions by
Mr. Thurston subsequent to March 2017 to approach her and be in her presence on
campus, provoking flashbacks and anxiety attacks; those complaints have been

ignored by USF. Notwithstanding, USF failed and refused to honor Plaintiff's

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requests for sufficient protection from daily exposure and risk of exposure to
Andrew Thurston, thus leaving her in a sexually harassing atmosphere and, in fact,
creating, promoting and encouraging a sexually harassing and hostile atmosphere.

29. Indirect contravention of its Title IX duties owed to Plaintiff:

a. USF pursued and enforced a policy of “equal access,” under
which Andrew Thurston was and continues to be given unfettered access to
educational programs and facilities that were, and remain, in the doctoral program
that Plaintiff is enrolled in.

b. USF officials, including USF’s Senior Deputy Title IX
Coordinator, Crystal Coombes, insisted to Plaintiff that Title IX gave her rapist,
Mr. Thurston, “the right to equitable access” to educational settings, even if she
was present and even if his presence deprived her of the ability to stay.

30. Under the University’s “equal access” policy, pursued and enforced
by, inter alia, Ms. Crystal Coombes and Senior Associate General Counsel Joanne
(Jodi) Adamchak, Plaintiff has been and remains forced to either endure the
sexually harassing and hostile atmosphere of her rapist’s presence during her
doctoral program activities, or to forego, and therefore lose access, herself to the
educational opportunities and benefits of her doctoral program; both of these

outcomes are in direct contravention of USF’s Title IX duties.

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31. In recognition of the failure of its illegal “equal access” policy, on or
about March 13, 2017, a University official acknowledged in writing that Mr.
Thurston’s presence in the same classroom as Plaintiff warranted her having to
leave the room, even when leaving was contrary to meeting her academic
expectations; despite this acknowledgement, USF continued to fail to ban Mr.
Thurston from Plaintiff's presence on campus.

32. In further violation of Title IX duties, on and after April 11, 2017, Ms.
Coombes expressly refused Plaintiff's reasonable requests: (a) that Andrew
Thurston be required to park in a different parking lot than Plaintiff; and (b) that
Andrew Thurston be banned from being in the same academic building as Plaintiff
during any time that she was there.

33. In further violation of Title 1X duties, on and after April 11, 2017, Ms.
Coombes expressly directed that Plaintiff either skip academic opportunities in the
form of otherwise mandatory doctoral program “brown bag” lunch events based on
those Andrew Thurston’s major professor directed him to attend, or that she endure
his presence with nothing more than a professor present for “supervision.”

34. In further violation of Title IX duties, on and after April 11, 2017, Ms.
Coombes further refused to ban Andrew Thurston from campus for the

forthcoming summer; instead, Ms. Coombes began to orchestrate a de facto

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ejection of Plaintiff from campus by having her abandon a teaching assistantship in
favor of an off-campus research assistant position or internship.

35. On the same date of April 11, 2017, Crystal Coombes admitted
knowing that Plaintiff was struggling academically and her grades were failing due
to the impact of Mr. Thurston’s crimes against her.

36. In fact, Plaintiff continued to suffer from serious mental health
decline, including chronic panic attacks, anxiety, poor concentration,
hypervigilance and other debilitating conditions that harmed her academic progress
and success, due to Mr. Thurston’s continued presence in her academic
environment and daily threat of encountering him, and USF’s creation, fostering
and endorsement of a sexually harassing and hostile atmosphere, proximately
resulting in Plaintiff:

a. Being unable to attend classes and other academic activities on
campus for multiple days in a row;

b. Being unable to attend program events that she previously
enjoyed;

c. Being unable to complete classes, having instead to withdraw
or obtain an “incomplete” mark in multiple courses; and

d. __ Being unable to be on campus to utilize facilities and attend

relevant peer events, based on Mr. Thurston’s presence, including accessing an

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entire floor of an academic building due to his sanctioned, regular presence on that
floor.

37. USF failed and refused to honor Plaintiff's express and repeated
requests for an outcome to the disciplinary process against Mr. Thurston that
would provide her with complete and necessary relief from the sexually harassing,
hostile and unsafe’ environment resulting from ongoing exposure and risk of
exposure to Mr. Thurston, including her specific request that Mr. Thurston be
suspended from campus until Plaintiff completed her studies to obtain her doctoral
degree.

38. Ms. Coombes expressly directed Plaintiff that she should consider
withdrawing from USF based on her ongoing complaints about Mr. Thurston’s
presence in Plaintiff's academic environment.

39. USF administrators also actively rejected and sought to illegally
silence the ongoing concerns raised by professors in the doctoral program in which
Plaintiff and Andrew Thurston are enrolled, to wit:

a. USF’s administration, including its Title IX officials, overtly
rejected the express concerns raised by professors in Plaintiff's doctoral program
that the sanctions and restrictions imposed on Andrew Thurston, after he was
found responsible for sexually assaulting Plaintiff, were inadequate to eliminate the

sexually harassing and hostile environment experienced by Plaintiff.

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b. At least one professor confirmed in writing thereafter that
doctoral program professors were rejected by the USF administration in their
efforts “to get increased punishments [against Mr. Thurston] and/or
accommodations to make [Plaintiffs] continued experience [at USF] as pleasant as
possible.”

Cc. At least one professor confirmed in writing that doctoral
program professors were directed by the administration not to treat Andrew
Thurston as “a criminal” because it would be “considered potentially
discriminatory” and expose the University and the professors, individually, to
lawsuits brought by Mr. Thurston.

d. At least one professor confirmed in writing that doctoral
program professors were directed that further complaints by Plaintiff about the
inadequacy of USF’s response to her needs could be viewed as her “attempting to
retaliate against [Mr. Thurston]” and be treated as a “USF rule violation for which
[Plaintiff] can get in big trouble for.”

e. At least one professor confirmed in writing a concern that he
could “potentially get ... in trouble as well” for continuing to object to the
administration’s failures to take necessary steps to redress the sexually hostile

environment that Plaintiff continued to suffer from.

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f. At least one professor confirmed in writing that Mr. Thurston
was allowed to continue teaching undergraduate students and conduct private
meetings with individual students “alone” during office hours based on the “logic”
that no other students had “expressed anything negative about him” and that what
“he admitted to” doing to Plaintiff “was technically a university infraction not a
legal proceeding”; as such, “the punishment for this is like any other rule violation
that results in minor response.”

40. During the investigation into Andrew Thurston’s crimes, Plaintiff was
assigned a “victim advocate” from the USF Center for Victim Advocacy and
Violence Prevention; that advocate was supposed to provide support, direction and
advocacy assistance to Plaintiff during the process.

41. a. USF assured Plaintiff in writing that her relationship with the
victim advocate was confidential, to wit, “The USF Center for Victim Advocacy
and Violence Prevention assures confidentiality to all who utilize the program’s
services. Client names, identifying information and any disclosures will be kept
confidential unless an advocate receives permission from the client to release the
information to a specific third party.”

b. Plaintiff was assured in writing that her confidential
relationship between with the victim advocate would only be breached without

Plaintiff's permission in one of three circumstances:

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(i) |The advocate had, “knowledge of a client’s suicidal or
homicidal potential”;

(ii) | The advocate “suspect[ed] that child or elder abuse has
occurred”;

(iii) “A judge orders the program to release information to the
court.”

42. Defendant’s written policy as to victim advocate confidentiality
accords with Florida law, Fla. Stat. sec. 90.5035, which establishes a sexual assault
counselor-victim privilege.

43. In June 2017, as part of an effort to retaliate against Plaintiff and
silence her ongoing complaints about USF’s violations of her Title IX rights, USF
charged Plaintiff with violating the Student Code of Conduct herself, and in
August 2017 found her guilty.

44. The charge pursued against Plaintiff by USF was the making of an
allegedly illegal recording, in violation of Florida Statutes section 934.03, of a
conversation had between Plaintiff, her victim advocate, and Ms. Crystal
Coombes, at which the three discussed Plaintiff's ongoing complaints that she was
not safe on campus from Mr. Thurston and that her Title IX rights were being

violated by USF every day.

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45. In fact, any such recording would not violate Florida law for reasons
that include, inter alia, that the meeting occurred in a public building, among
public officials discussing public duties and alleged violations of law by USF,
where there was no reasonable expectation of privacy, and in itself, a USF official
present violated the law during the conversation.

46. Further, such a recording would not violate the law as Plaintiff would
have a right to do so under the First Amendment to the U.S. Constitution, duly
protected pursuant to 42 U.S.C. § 1983; specifically, Plaintiff has the nght long
recognized by federal courts, “to gather information about what public officials do
on public property, and specifically, a right to record matters of public interest.”

47. USF nonetheless prosecuted Plaintiff, and further did so despite the
facts known to it that:

a. The alleged violation was innocent and the direct result of
Plaintiff attempting to compensate for problems she was having concentrating in
such meetings due to stress from the rape and ongoing exposure to her rapist; and
b. No harm resulted to anyone from the alleged violation.

48. USF improperly persisted in the charges against Plaintiff in order to

retaliate against her for having complained of the University’s failure to protect her

and resolve the sexually hostile atmosphere caused by Andrew Thurston

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49. Facts that demonstrate the retaliatory intent of the prosecution of
Plaintiff include, without necessary limitation:

a. USF threatened Plaintiff with sanctions that were more severe
than those imposed on Mr. Thurston for having raped her, including financial
penalties and having to complete a two-part “ethics and community standards
workshop” no later than July 24, 2017;

b. The charge against Plaintiff was solely derived from
information improperly disclosed to USF administrators by her campus advocate,
Megan Deremiah, in blatant violation of the confidentiality that was supposed to be
assured in that relationship.

Cc. No action was taken by USF against the campus advocate for
having breached the confidential relationship.

d. In the conduct board hearing on the charges, USF provided as
the basis for the charges the illegally-obtained evidence from Ms. Deremiah in the
form of what were supposed to be confidential communications between her and
Plaintiff.

e. USF’s Senior Deputy Title IX Coordinator, Crystal Coombes,
demanded that the disciplinary panel deal with the charges against Plaintiff “in the
strongest possible manner” and impose sanctions that “must be hard felt;” Ms.

Coombes specifically related her demands to the fact that Plaintiff had been upset

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with the process and outcome of Andrew Thurston’s disciplinary proceedings for
having sexually assaulted Plaintiff.

50. The breach of confidentiality and retaliatory prosecution of Plaintiff
by USF completely, and foreseeably, destroyed Plaintiff's trust in the victim
advocate program, thereby depriving her of the support of that resource that is
supposed to be an integral part of the Title IX victim support process.

5]. a. In advance of the attack on Plaintiff by Andrew Thurston, USF
failed to have in place adequate and sufficient policies and procedures that ensured
a sex crime victim’s on-campus needs for a safety and freedom from sexual
harassment and a sexually harassing environment were timely and adequately
provided for by the conclusion of the disciplinary process.

b. In this regard, Plaintiff was illegally deprived of options to
participate in the determination of necessary sanctions and restrictions on Mr.
Thurston,

Cc. Further, Plaintiff was illegally deprived of the ability to redress,
at the conclusion of the disciplinary proceedings, the failure of USF’s policies and
procedures to ensure that the conclusion of those disciplinary proceedings resulted
in an outcome that restored the environment for Plaintiff to one that was free of

sexual harassment and sexual hostility.

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52. Over the repeated and strenuous objections of Plaintiff, in furtherance
of a sexually hostile educational environment, and sending a clear message of
disregard and indifference to the safety of Plaintiff and others similarly situated,
USF officials have:

a. Permitted Andrew Thurston to maintain a teaching assistantship
on the USF Tampa campus in which he has direct and unsupervised contact with
undergraduate psychology students, including during evening hours;

b. Permitted Andrew Thurston to maintain a teaching assistantship
on the USF campus after assuring Plaintiff that would not be permitted;

C. Failed and refused to alert or warn Andrew Thurston’s
undergraduate students that he has been found responsible by the University with
having sexually assaulted a fellow student; and

d. _—_ Actively discouraged Plaintiff from reporting to Mr. Thurston’s
undergraduate students what he did to her.

53. The direct and proximate impact of USF’s failure to restrict Mr.
Thurston and provide visible and substantive consequences to him, while
simultaneously discouraging Plaintiff from speaking her truth, has been to create,
contribute to and promote an atmosphere and culture of sexual hostility,

harassment and retaliation against Plaintiff and others similarly situated, including:

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a. By encouraging and permitting Mr. Thurston to malign and
discredit Plaintiff to her peers as having made false allegations against him,
including the other students in the “tight knit” doctoral program in which they are
both enrolled;

b. By disempowering and alienating Plaintiff in the educational
environment from her peers, while empowering Mr. Thurston;

C. By setting and enforcing a standard of tolerance at USF for
sexual violence, even in cases where the victim is left not only raped, but bruised
and bleeding;

d. By creating substantial bases for students to distrust the
University’s published policies that facially assure a “zero tolerance” of sexual
violence, commit to rectify any adverse impact on the academic environment, and
promise to show care and compassion for victims of sexual violence, thus placing a
chilling effect on further reporting of sexual violence; and

€. To otherwise contribute to an atmosphere of acceptance of
sexual violence and leaves Plaintiff feeling unsafe from further sexual violence,
harassment and hostility.

54. USF literally sought to promote, and in fact ensured, an outcome of
Mr. Thurston’s criminal acts which leaves him “equal” to his victim in access to

University facilities and programs, despite any adverse impact on her, and literally

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provided to Mr. Thurston the ability to refuse to accept any and all safety measures
requested by Plaintiff following the outcome of the disciplinary process, without
regard to:

a. Plaintiff's medical needs for protection and accommodation;

b. Plaintiff's deteriorating mental health and related ability to
attend to her studies and academic programs and opportunities; and

Cc. Plaintiff's desire and need to access and utilize on-campus
academic facilities.

55. USF actively misled Plaintiff and other applicants for admission to the
University by publishing policies and making public statements that “sexual
violence is ... simply not tolerated” by the University, that the University is
“committed to providing an environment free from sex discrimination, including
sexual harassment and sexual violence,” and that “the University will take steps to
prevent the recurrence of harassment, including sexual violence, and to correct any
discriminatory effects of harassment on the complainant and others.”

56. Plaintiff has retained the undersigned attorneys to represent her in this
action and agreed to pay them a reasonable fee and costs associated with this

action.

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COUNT I —- VIOLATION OF TITLE IX,

EDUCATION AMENDMENTS OF 1972, 20 U.S.C. § 1681 ET SEQ.

(Hostile Educational Environment)

57. Plaintiff realleges and incorporates into this Count the Facts Common
to All Counts alleged above.

58. While attending University of South Florida, Plaintiff had a right
under Title IX, after reporting an incident of sexual violence perpetrated by another
student, not to be subject to sexual discrimination, sexual harassment and a
sexually hostile atmosphere on campus and in the administration of her academic
program, as well as a right not to be subjected to retaliation for complaining of
same.

59. At all times material hereto, USF officials, employees and/or agents
with authority to institute corrective and preventive measures, had notice of and
actual knowledge that Plaintiff had been subjected to sexual violence perpetrated
by fellow graduate student, Andrew Thurston, including sexually battered within
the meaning of Fla. Stat. sec. 794.011, and falsely imprisonment within the
meaning of Fla. Stat. sec. 787.02.

60. At all times material hereto, USF officials, employees and/or agents
with authority to institute corrective and preventive measures, had notice and

actual knowledge that Plaintiff was continuing to be subjected to sexual

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discrimination, harassment and a sexually hostile atmosphere related to the
ongoing presence of Andrew Thurston on the USF campus on a daily basis.

61. At all times material hereto, Defendant’s officials, employees and/or
agents had notice and actual knowledge that allowing ongoing exposure of Plaintiff
to the perpetrator, Andrew Thurston, would result and was resulting in a sexually
harassing environment, and was inflicting, and continues to inflict, substantial
mental health harm on her, at a level that impeded and continues to impede her
ability to successfully complete her studies and participate fully in academic
programs and educational opportunities that she previously enjoyed.

62. The result of USF’s continued sexually hostile and discriminatory
policies, combined with Plaintiff being required to attend an educational
environment with her rapist, and to forego attending educational opportunities in
that environment, created a highly sexually hostile educational environment for
Plaintiff on a daily basis.

63. At all times, USF had the right at law and under its Student Code of
Conduct, to redress fully the sexually hostile educational environment by having
complete control over Mr. Thurston’s presence on campus and at educationally-
related activities off-campus, up to and including expelling him from the
University and banning him from campus; USF failed to act to redress that

environment.

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64. The discrimination, originating with Mr. Thurston’s rape and false
imprisonment of Plaintiff, and resulting in the ongoing and unmitigated risk to
Plaintiff's safety from his ongoing presence on campus, the loss of her ability to
continue attending USF without fear of encountering him on campus (which
persists to date), and the loss of her ability to participate in certain educational and
student activities, was and remains so severe, pervasive, and objectively offensive
that it has and continues to bar Plaintiff's access to educational opportunities and
benefits.

65. Plaintiff was subjected to the discrimination because of USF’s
deliberate indifference to known acts of harassment, sexual violence,
discrimination and retaliation, including, without limitation:

a. USF’s deliberate decision to pursue and enforce a policy and
practice of empowering perpetrators of sexual violence, including by giving them
the authority to accept or reject at whim “sanctions” that would be necessary for
their victims’ ability to have their educational environment restored to one that is
not sexually harassing or hostile.

b. | USF’s deliberate decision to pursue and enforce a policy and
practice of determining and setting sanctions against sexual assailants without

considering or consulting with victims as to their needs.

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c. USF’s failure to establish and maintain a policy or procedure
for sex crime victims to appeal the nature of establish sanctions against sexual
assailants when the established sanctions were inadequate to restore the safety of
the educational environment and redress fully a sexually hostile atmosphere.

d. | USF’s failure to establish and maintain any policy or procedure
for sex crime victims to seek additional protection as needed, over time, from their
attackers and remediation of any related sexually hostile atmosphere from
inadequate protection.

e. USF’s deliberate decision not to provide Plaintiff with
requested safety measures and accommodations so that she could safely and with
peace of mind pursue her academic coursework and attend educational
opportunities, and be free from emotional harm in the process.

f. USF’s deliberate decisions not to comply with its own policies
against gender-based misconduct, Title IX and sexual harassment and
discrimination, as well as the legal requirements of Title IX as set forth in the
directives from federal regulatory authorities that USF otherwise professed to
honor and uphold.

g. USF’s deliberate decision to do nothing to eliminate the
ongoing sexual assault risk posed by Andrew Thurston, prevent its recurrence and

address its effects.

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h. Following its failure to redress the sexually hostile atmosphere
it created, USF’s deliberate decision to direct Plaintiff that she should consider
withdrawing from the University and seeking her degree from another educational
institution.

i. Following its failure to redress the sexually hostile atmosphere
it created, USF’s deliberate decision to direct Plaintiff that she should skip weekly
guest speaker sessions that are a mandatory component of her enrolled degree
program, so as to allow Andrew Thurston to attend.

j- USF’s ongoing deliberate decision to fail and refuse to include
Plaintiff in determinations of what remedies continue to be necessary to restore her
educational environment to one of sufficient safety and comfort for her to access
the education opportunities and benefits of USF, and failing to provide and/or
enforce any policy or procedure intended to achieve such ends.

k. By failing to train sufficiently and supervise school officials
who were involved in handling Title IX and sexual violence complaints as to: the
proper and effective assessment and investigation of complaints under Title IX; the
nature and extent of the impact of sexual violence and harassment on victims; and
the nature and extent of necessary response to and remedies to acts of sexual

violence and harassment;

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1. By taking deliberate actions to retaliate against Plaintiff for her
ongoing complaints of violation of her Title IX rights;

m. By taking deliberate actions to threaten Plaintiff into silence
and discourage her from reporting to other students at risk of exposure to Mr.
Thurston as to the dangers he represents;

n. By taking deliberate action to create an atmosphere of
intimidation and silence among Plaintiff's professors who otherwise have sought to
assist Plaintiff in obtaining necessary and proper protection from a sexually hostile
atmosphere;

o. By failing to establish and implement policies and procedures
that ensured a commensurate response in sanctions to the perpetration of sexual
violence; and

p. By otherwise taking actions to establish and enforce a policy of
“equal access” to the educational environment for Mr. Thurston as a perpetrator of
sexual violence, including at the expense of Plaintiff's rights as his victim.

66. Had USF not been deliberately indifferent to Plaintiff's harassment,
discrimination and retaliation, and instead complied with its own policies and
federal law by properly sanctioning and restricting Andrew Thurston’s access to
campus and direct contact with Plaintiff, while otherwise protecting Plaintiffs

safety, Mr. Thurston would have been removed as a threat to Plaintiff and Plaintiff

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could have accessed the full benefits and opportunities of the educational
environment and continued her studies towards a USF doctoral degree. Instead,
Plaintiff has been forced to forego educational opportunities and benefits, avoid
campus, and reduce her course load due to the ongoing impact on her mental health
of the sexually hostile atmosphere, while Thurston has been permitted to continue
all on-campus activities and enjoy all academic opportunities and benefits, with no
meaningful consequence or restrictions on his movements.

67. As a direct and proximate result of USF’s violation of Plaintiff's
legally-protected rights, Plaintiff has suffered and sustained: extreme psychological
and psychiatric harm, including the infliction of permanent psychological and/or
psychiatric medical conditions within a reasonable degree of medical probability;
pain and suffering; humiliation; embarrassment; loss of self-esteem; mental
anguish; aggravation of pre-existing mental health conditions; disability; loss of
capacity for the enjoyment of life; loss of earning capacity; and medical and
therapeutic related expenses. These damages have been sustained in the past, are
continuing and will continue in the future.

WHEREFORE, Plaintiff demands judgment for all damages provided at law
and in equity against Defendant USF; attorneys’ fees; injunctive relief requiring
USF to take effective steps to prevent ongoing sex-based discrimination and

harassment of Plaintiff in its education programs and mitigate the effects of

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harassment, including by eliminating any hostile environment that is arising from
or contributing to it; and such other and further relief as this Court deems just and
proper.
COUNT II
Violation of Title IX — 20 U.S.C. § 1681(a)
(Clearly Unreasonable Response to Sexual Violence)

68. The facts pertinent to all counts set forth above are incorporated
herein by reference.

69. Plaintiff was subjected to physical sexual harassment, sexual
discrimination and a sexually hostile atmosphere that was so severe, pervasive and
objectively offensive that she was denied access to educational opportunities and
benefits.

70. USF had a duty under Title IX to respond to Plaintiffs complaints,
and ongoing complaints, of sexual harassment, sexual discrimination and a
sexually hostile atmosphere in a manner that was reasonable and that undertook
such steps as were reasonable available to it to redress that illegal atmosphere.

71. USF's response to what it knew Plaintiff had and continued to endure
in violation of Title IX, was, and continues to be, clearly unreasonable in light of

the known circumstances.

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72. USF became a sexually hostile environment where Plaintiff's rapist,
Andrew Thurston, and its response to that environment was clearly unreasonable
and deliberately indifferent, for reasons that include, without necessary limitation:

a. USF affirmatively allowing and encouraging Mr. Thurston to
roam free on USF’s campus, including in its academic buildings, as well as
participating freely in student activities, knowing that Plaintiff would and was
encountering him on a regular basis;

b. USF imposing disproportionately lenient sanctions for the
severity of the offense he committed against Plaintiff;

Cc. USF threatening to impose a more severe sanction on Plaintiff
for an alleged offense that, even if true, was much less severe than the crimes
committed by Mr. Thurston;

d. USF empowering Mr. Thurston to accept or reject at whim
“sanctions” that would be necessary for Plaintiff's ability to have their educational
environment restored to one that is not sexually harassing or hostile.

e. USF’s deliberate decision to set sanctions against Mr. Thurston
without considering or consulting with Plaintiff's needs for an educational

environment free from sexual hostility, harassment and retaliation.

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f. USF’s deliberate decision to bar Plaintiff from seeking
additional protection as needed, over time, from Mr. Thurston and remediation of
any related sexually hostile atmosphere from inadequate protection.

g. USF’s deliberate decision not to accept Plaintiff's reasonable
requests for measures and accommodations necessary for her safety and peace of
mind to pursue her academic coursework and attend educational opportunities, and
be free from emotional harm relative to Mr. Thurston’s attacks and ongoing
presence on campus.

h. USF’s deliberate decisions not to comply with its own policies
against gender-based misconduct, Title IX and sexual harassment and
discrimination, as well as the legal requirements of Title 1X as set forth in the
directives from federal regulatory authorities that USF otherwise professed to
honor and uphold.

i. USF’s deliberate decision to do nothing to eliminate the
ongoing sexual assault risk posed by Andrew Thurston, prevent its recurrence and
address its effects.

j. USF’s deliberate decision to direct Plaintiff that she should
consider withdrawing from the University and seeking her degree from another

educational institution.

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k. | USF’s deliberate decision to direct Plaintiff that she should skip
weekly guest speaker sessions that are a mandatory component of her enrolled
degree program, so as to allow Andrew Thurston to attend.

l. USF’s ongoing deliberate decision to fail and refuse to include
Plaintiff in determinations of what remedies continue to be necessary to restore her
educational environment to one of sufficient safety and comfort for her to access
the education opportunities and benefits of USF, and failing to provide and/or
enforce any policy or procedure intended to achieve such ends.

m. USF’s deliberate decision to fail to train sufficiently and
supervise school officials who were involved in handling Title IX and sexual
violence complaints as to: the proper and effective assessment and investigation of
complaints under Title IX; the nature and extent of the impact of sexual violence
and harassment on victims; and the nature and extent of necessary response to and
remedies to acts of sexual violence and harassment;

n. By taking deliberate actions to retaliate against Plaintiff for her
ongoing complaints of violation of her Title IX rights;

0. By taking deliberate actions to threaten Plaintiff into silence
and discourage her from reporting to other students at risk of exposure to Mr.

Thurston as to the dangers he represents;

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p. By taking deliberate action to create an atmosphere of
intimidation and silence among Plaintiff's professors who otherwise have sought to
assist Plaintiff in obtaining necessary and proper protection from a sexually hostile
atmosphere;

q. By enforcing a policy of “equal access” to the educational
environment for Mr. Thurston as a perpetrator of sexual violence, including at the
expense of Plaintiffs nghts as his victim.

73. Had USF provided a reasonable response to Plaintiff's harassment,
discrimination and retaliation, and complied with its own policies and federal law
by properly sanctioning and restricting Andrew Thurston’s access to campus and
direct contact with Plaintiff, while otherwise protecting Plaintiff's safety, Mr.
Thurston would have been removed as a threat to Plaintiff and Plaintiff could have
accessed the full benefits and opportunities of the educational environment and
continued her studies towards a USF doctoral degree. Instead, Plaintiff has been
forced to forego educational opportunities and benefits, avoid campus, and reduce
her course load due to the ongoing impact on her mental health of the sexually
hostile atmosphere, while Thurston has been permitted to continue all on-campus
activities and enjoy all academic opportunities and benefits, with no meaningful

consequence or restrictions on his movements.

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74. As a direct and proximate result of USF’s violation of Plaintiff's
legally-protected rights, Plaintiff has suffered and sustained: extreme psychological
and psychiatric harm, including the infliction of permanent psychological and/or
psychiatric medical conditions within a reasonable degree of medical probability;
pain and suffering; humiliation; embarrassment; loss of self-esteem; mental
anguish; aggravation of pre-existing mental health conditions; disability; loss of
capacity for the enjoyment of life; loss of earning capacity; and medical and
therapeutic related expenses. These damages have been sustained in the past, are
continuing and will continue in the future.

WHEREFORE, Plaintiff demands judgment for all damages provided at law
and in equity against Defendant USF; attorneys’ fees; injunctive relief requiring
USF to take effective steps to prevent ongoing sex-based discrimination and
harassment of Plaintiff in its education programs and mitigate the effects of
harassment, including by eliminating any hostile environment that is arising from
or contributing to it; and such other and further relief as this Court deems just and
proper.

COUNT III
Violation of Title IX —20 U.S.C. § 1681(a)
(Retaliation)
75. The facts pertinent to all counts set forth above are incorporated

herein by reference.

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76. Plaintiff was subjected to sexual harassment, sexual discrimination
and a sexually hostile atmosphere that was so severe, pervasive and objectively
offensive that she was denied access to educational opportunities and benefits.

77. USF had a duty under Title IX to respond to Plaintiff's complaints,
and ongoing complaints, of sexual harassment, sexual discrimination and a
sexually hostile atmosphere in a manner that was not retaliatory of her complaints.

78. Plaintiff engaged repeatedly, and in an ongoing manner from
December 2016 to present of her complaints of sexual harassment, sexual
discrimination and a sexually hostile atmosphere related to Mr. Thurston’s
presence on campus and his virtually unfettered right to participate alongside her in
educational activities that provoked severe emotional harm to her, among other
matters related to violation by USF of her Title [X rights.

79. USF took action against Plaintiff in response to and in retaliation for
her complaints that was materially adverse to her within the standard of a
reasonable person, including without necessary limitation:

a. By directing that Plaintiff skip academic opportunities as the
method to redress her distress over Mr. Thurston’s presence.
b. By directing that Plaintiff withdraw from USF and transfer to

another school as the method to redress her distress over Mr. Thurston’s presence.

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c. By violating the sanctity of Plaintiff's confidential relationship
with her victim advocate in order to support contrived and illegal charges against
her for alleged violation of the Student Code of Conduct.

d. By violating Plaintiffs Constitutionally-protected — First
Amendment rights.

e. By punishing Plaintiff for exercising her Constitutionally-
protected First Amendment rights.

f. By threating to punish Plaintiff more severely than her rapist
for an alleged conduct violation of far less severity and subjecting her to
disciplinary proceedings to follow through on that threat.

g. By threatening and intimidating Plaintiff's professors in
response to their efforts to advocate for her and obtain for her greater and
necessary protection from the sexually harassing and hostile atmosphere that she
continued to suffer from.

80. The aforesaid actions taken by USF against Plaintiff were undertaken
contemporaneously with the time period during which Plaintiff was purposefully
and continually objecting to violation of her Title 1X rights by USF.

81. The aforesaid actions taken by USF against Plaintiff would dissuade a
reasonable person from making or supporting a complaint of discrimination, or

continuing to do so.

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82. The aforesaid actions taken by USF produced severe emotional and
mental health harm to Plaintiff; said harm was foreseeably and objectively known
to be capable of inflicting such harm.

83. USF took its materially adverse actions against Plaintiff specifically
because of and in response to her complaints of Title IX violations and the sexually
harassing, discriminatory and hostile atmosphere she was, and continues, to suffer.

84. As a direct and proximate result of USF’s violation of Plaintiff's
legally-protected rights, Plaintiff has suffered and sustained: extreme psychological
and psychiatric harm, including the infliction of permanent psychological and/or
psychiatric medical conditions within a reasonable degree of medical probability;
pain and suffering; humiliation; embarrassment; loss of self-esteem; mental
anguish; aggravation of pre-existing mental health conditions; disability; loss of
capacity for the enjoyment of life; loss of earning capacity; and medical and
therapeutic related expenses. These damages have been sustained in the past, are
continuing and will continue in the future.

WHEREFORE, Plaintiff demands judgment for all damages provided at law
and in equity against Defendant USF, attorneys’ fees, and such other and further

relief as this Court deems just and proper.
DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury as to all issues to triable.

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Dated on this 30th day of November, 2017.

Respectiulfy substitted,
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Zz

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